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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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                                                                        6/12/2025
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  WAYNE BALIGA,
                                                       18 Civ. 11642 (VM)
                           Plaintiff,
                                                       ORDER
                   - against -

  LINK MOTION INC. (f/k/a NQ MOBILE
  INC.), et al.,

                           Defendants.


 VICTOR MARRERO, United States District Judge.

       The Court is in receipt of various letters seeking

 clarity on certain issues in the wake of the Court’s discharge

 of the Receiver in this action.

       First,     the   Court    has   received    a   letter    from    Lilin

 “Francis” Guo (“Guo”) seeking clarification on whether the

 Court’s    previous       injunction       against    convening      noticed

 Extraordinary General Meeting (“EGM”) of Link Motion, Inc.

 (“Link Motion”) shareholders can now be lifted in the wake of

 the Court’s discharge of the Receiver and resolution of

 various other issues related to the Receiver’s accounting.

 (See Dkt. No. 554.)

       Second, the Court has received a letter from the Robert

 W. Seiden (the “Seiden”), former Receiver of Link Motion,

 requesting a stay of any obligation he might have to produce

 Link Motion documents to Vincent Wenyong Shi (“Shi”) in the




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 wake of his discharge as Receiver until the Court resolves

 the dispute between Guo and Shi concerning Link Motion’s

 management. (See Dkt. No. 555.)

       Shi has responded to Seiden’s request by letter, arguing

 that Guo’s appointment as interim director of Link Motion and

 the Receiver’s removal of Shi from the board of directors was

 in violation of Cayman law per a ruling of the Grand Court of

 the Cayman Islands (the “Cayman Court”). (See Dkt. No. 556.)

 Accordingly, Shi contends that he remains a duly appointed

 director of Link Motion.

       In   the   interest     of   caution,   the   Court    GRANTS       the

 Receiver’s request for a temporary stay of any obligation to

 turn over Link Motion documents to Shi while the Court

 resolves the underlying issue of what effect it should give

 the Cayman Court’s decision regarding Guo’s appointment as

 interim director and Shi’s removal as a director.

       Moreover, because the issue of whether Guo was properly

 appointed as interim director is intertwined with the issue

 of whether the Court should lift the injunction on Guo’s

 noticing of the EGM, the Court will direct the affected

 parties to indicate their positions on these issues in a

 streamlined letter exchange. Shi has already indicated that

 he will file a reply to Guo’s letter on June 17, 2025. In

 that reply, the Court directs Shi to keep the letter to four


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 (4) pages maximum and to indicate his position as to how the

 purported illegitimacy of Guo’s appointment under Cayman

 Islands law     impacts the Court’s pending injunction against

 the noticed-EGMs. Guo is hereby directed to respond to Shi’s

 letter by June 23, 2025, in a letter no longer than four (4)

 pages, indicating his position on the various issues raised,

 including     the   legality   of       his    appointment      as   interim

 director.

 SO ORDERED.

 Dated:      12 June 2025
             New York, New York



                                                _________________________
                                                     Victor Marrero
                                                        U.S.D.J.




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